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  14
                            UNITED STATES DISTRICT COURT
  15

  16       CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
  17
       KURTIS KOOIMAN, an individual,              Case No. 8:20-cv-00565 JLS (DFMx)
  18

  19                Plaintiff,                     STIPULATION RE IDENTITY OF
                                                   SIWELL, INC. EMPLOYEES AND
  20          vs.                                  SCOPE OF EMPLOYMENT
  21                                               Dist. Judge: Hon. Josephine L. Staton
     SIWELL, INC., dba Capital Mortgage            Courtroom: 10A (Santa Ana)
  22 Services of Texas, and DOES 1 through         TRIAL DATE: January 12, 2022
  23 50, inclusive,

  24                 Defendants.
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           STIPULATION RE IDENTITY OF SIWELL, INC. EMPLOYEES AND SCOPE OF EMPLOYEMENT
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   1         Plaintiff Kurtis Kooiman (“Plaintiff”) and Defendant, Siwell, Inc., dba Capital
   2 Mortgage Service of Texas (collectively “Defendant”), by and through their counsel

   3 of record, stipulate, subject to the Court’s approval, as follows:

   4         Whereas, on December 9, 2021, this Court, ordered Plaintiff and Defendant to
   5 stipulate to the identity of Defendant’s employees who worked for Defendant during

   6 the time Plaintiff was employed by Defendant and further, to stipulate to the scope

   7 of the employment of said employees.

   8         IT IS HEREBY STIPULATED THAT Plaintiff and Defendant have reviewed

   9 the following list of names and agree that the following individuals worked for

  10
       Defendant during the time Plaintiff was employed by Defendant and had the job
       titles as set forth below:
  11

  12         1. Jeri Ann Pavese, Branch Manager
  13         2. Royce Lewis, Chief Executive Officer of Defendant
  14         3. Linda Lewis, President
  15         4. Dana Coulson, Human Resources
  16         5. Eric Sharp, Risk Manager
  17         6. Jeff Deitiker, Payroll Clerk
  18         7. Andy Alderman, National Director of Retail Operations
  19         8. Gina George, Underwriter
  20         9. Scott Colclough, Manager Capital Markets Division
  21         10. Sarah Ruehlen, Loan Processor

  22         11.Leroy Valenzuela, Underwriter

  23         12. Marcus Crumble, Operations Manager

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             13.Crystal Gomez, Loan Processor

  25         14. Mirtha Marquez, Loan Processor/Assistant
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            STIPULATION RE IDENTITY OF SIWELL, INC. EMPLOYEES AND SCOPE OF EMPLOYEMENT
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         IT IS SO STIPULATED.
   2

   3
       DATED: January 11, 2022                 Respectfully submitted,
   4                                           REID & HELLYER, APC
   5

   6                                           By:/s/ Douglas A. Plazak
                                                 Douglas Plazak, Attorney for
   7                                             Plaintiff ,KURTIS KOOIMAN, an
   8                                             individual

   9
       DATED: January 11, 2022                 MALCOLM CISNEROS, a Law Corp.
  10

  11
                                               By:/s/ Nathan Smith
  12                                             Nathan Smith, Attorney for
                                                 Defendant, SIWELL, INC., d.b.a.
  13                                             Capital Mortgage Services of Texas
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           STIPULATION RE IDENTITY OF SIWELL, INC. EMPLOYEES AND SCOPE OF EMPLOYEMENT
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   1                          SIGNATURE CERTIFICATION
   2

   3        Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
   4 Policies and Procedures Manual, I hereby certify that the content of this document is

   5 acceptable to Nathan Smith, counsel for Defendant, and that I have obtained Mr.

   6 Smith’s authorization to affix his electronic signature to this document.

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   8                                                By: /s/ Douglas A. Plazak

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          STIPULATION RE IDENTITY OF SIWELL, INC. EMPLOYEES AND SCOPE OF EMPLOYEMENT
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   1                            CERTIFICATE OF SERVICE
   2

   3        I hereby certify that on January 11, 2022 I electronically filed the foregoing
   4 with the Clerk of the Court using the CM/ECF system which will send notification

   5 of such filing to the email addresses denoted on the Notice of Electronic Filing.

   6        I certify under penalty of perjury under the laws of the United States of
   7 America that the foregoing is true and correct. Executed on January 11, 2022.

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                                                    By: /s/ Douglas A. Plazak
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          STIPULATION RE IDENTITY OF SIWELL, INC. EMPLOYEES AND SCOPE OF EMPLOYEMENT
